                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

CHARLES COLLINS et al.,
         Plaintiffs,

      v.                                              Case No. 17-C-234

CITY OF MILWAUKEE et al.,
           Defendants.


                        COURT MINUTES OF CONFERENCE

Judge Lynn Adelman, presiding                  Date: January 17, 2018
Time Commenced: 11:00 a.m.                     Concluded: 11:38 a.m.
Deputy Clerk: GC/CM                            Court Reporter: None

Appearances:
   Plaintiffs: Jason Williamson, Nusrat Choudhury, Shanya Dingle, and
     Larry Dupuis
   Defendants: Jan Smokowicz, Joseph Russell, and David Frank

Nature of Conference: Telephonic Status Conference

Notes:
    Parties discussed case and status of settlement
    Court ordered defendants to provide plaintiffs and the court with a detailed
      redline response to plaintiffs’ proposed Settlement Agreement, Class Certification
      and Consent Decree by January 30, 2018




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